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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 ​    ​    ​    ​    ​    ​
 UNITED STATES OF AMERICA
 ​    ​    ​    ​
 vs.​ ​    ​    ​    ​    ​                    ​       CASE NO.: 8:24-cr-514-VMC-CPT​
 ​    ​    ​    ​    ​    ​                    ​       ​    ​      ​      ​
 RICARDO FERMIN SUNE-GIRON


             MOTION FOR VARIANCE AND SENTENCING MEMORANDUM

 ​      The Defendant, RICARDO FERMIN SUNE-GIRON, by and through undersigned

 counsel, files this Motion for Variance and Sentencing Memorandum and requests this court

 exercise its discretion in imposing a reasonable sentence under the advisory guidelines. This

 court has discretion to order any sentence which is sufficient but not greater than necessary to

 comply with 18 U.S.C.§3553(a) and grant a variance from the advisory guidelines sentence.



                                     Procedural Background

 ​      Ricardo Fermin Sune-Giron was charged in a four count Information filed on

 November 21, 2024. He pled guilty pursuant to a plea agreement on December 11, 2024 to all

 counts. Count 1 charged Conspiracy to Traffic Firearms, 18 U.S.C § 933(a)(3). Count 2 charged

 Trafficking Firearms, 18 U.S.C § 933(a)(1). Count 3 charged Dealing in Firearms Without a

 License, 18 U.S.C. § 933(a)(1)(A). Count 4 charged Possession of a Firearm by an Illegal Alien.

 Sentencing is set for March 11, 2025.




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                            Nature and Circumstances of the Offense


        Mr. Sune-Giron was a member of a conspiracy that smuggled firearms to Puerto Rico,

 Haiti and the Dominican Republic. Several straw purchasers would illegally purchase the

 firearms from federal firearms licensees. Sune-Giron primarily used individuals to purchase the

 firearms so that he may provide them to other individuals in the conspiracy. Those individuals

 were the persons who would primarily package the firearms and have them sent abroad. He was

 aware the destination of these firearms was primarily to be the Dominican Republic and Haiti.

 As he purchased the firearms or had them purchased, on behalf of the leaders of the conspiracy,

 he did not set prices, amounts, negotiate deals, and/or send the firearms abroad. At least 3

 individuals purchased firearms for him who ended up being confidential informants. A search

 warrant was also executed at his home where several firearms were located, along with $16,460,

 large amounts of ammunition and a ledger. At the time, he was an undocumented alien who was

 prohibited from possessing a firearm.




                              RICARDO FERMIN SUNE-GIRON


 ​      Mr. Sune-Giron is a 34 year-old gentleman, from Guatemala. He was only able to reach

 middle school in Guatemala when he began working. (Doc 41, 62). He was forced to leave

 school and work at an early age as he lived with his mother and maternal grandparents in the city

 while his father worked in agriculture in the country. To his credit, he managed to get that far in

 school despite coming from an impoverished background. (Id. at ¶53). As a child, their was an

 attempt to kidnap him and he was able to escape. (Id. at ¶54).




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        He has two siblings ages 40 and 41. One lives in Miami and one lives in Guatemala but

 he maintains a relationship with both. He married in 2012 and divorced around 2018 as his

 relationship was not a pleasant one and marred by constant fighting. 2 young boys came from

 this marriage ages 10 and 5. After his divorce, his ex-wife refused to let him see his children and

 threatened to report him for being an undocumented alien if he tried to see his children.. (Id. at

 55). Up until his arrest, he paid child support for his minor boys.


        In 2022, he began his present relationship with Gladys Johana Fernandez Guardado.

 They are not married however have one small child in common and they resided together with

 her 3 children from a prior relationship. (Id. at 56). They lived together for 2 years prior to his

 arrest. Since he arrived in the United States he has worked in construction. He worked for

 Gladys’s construction company from 2020 until his arrest in 2024. (Id. at 66). He is in a stable

 long term relationship with Gladys.


                                         Sentencing Factors


        The sentence imposed should reflect the seriousness of the offense, produce respect for

 the law and provide just punishment for the offense as stated in 18 U.S.C.§ 3553(a)(2)(A). A

 prison sentence is designed with the goal to provide respect for the law and just punishment.

 §3553(a)(2)(B) calls for deterrence to criminal conduct. In this case, he has been in custody for

 approximately 11 months. 11 months in that he has been separated from his partner, child and

 her other children that he has been helping raise. The length of the sentence depends greatly on

 the severity of the crime, scope of involvement, amounts, and criminal history.


        Mr. Sune-Giron has no criminal history convictions. He does have a hold for a case in

 Guatemala but he is under the impression, from speaking with his brother who is in touch with


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 his attorney in Guatemala, that his case should be dismissed. These acts and involvement were a

 lapse in judgment as he joined this conspiracy but in no way is the organizer of this conspiracy

 nor does he have the contacts to broker the deals that sent these weapons abroad. Although

 firearms are used in criminal conduct, these are not crimes of violence. The public is protected

 from harm now and in the future by a reasonable period of incarceration and supervised release.

 These charges will subject him to deportation. Unless the warrant from Guatemala is lifted, he

 will immediately be removed from the United States to Guatemala by deportation and to answer

 to those charges. These holds more likely than not affect his gain time and any early release

 which can make the sentence akin to a mandatory, day for day, sentence.


        He maintains a relationship with his partner and daughter. He is not allowed to see his

 older sons but he did support them. He has maintained a relationship with his siblings and

 parents when they were alive. He is a hard working individual and has worked hard to pick

 himself up and do the best that he can. Mr. Sune-Giron pled to this offense, is remorseful and

 accepts responsibility for his actions.


                                                Conclusion


        ​       Mr. Sune-Giron has no prior criminal history/convictions. At this time, with no

 reductions, he scores level 35 category 1, 168 months to 210 months of imprisonment. To

 date, the only reduction he has received has been for acceptance of responsibility. He has

 maintained a stable home life with his family, and stable employment pre-arrest. He somehow

 managed to complete middle school in Guatemala. He was raised by his mother and

 grandparents and had to leave school early, his home and country to find employment. He is

 highly motivated to receive additional education and vocational training, specifically in electrical


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 work and learn English. He is highly motivated not to reoffend and is remorseful for his actions

 as this has separated him from his family and he realizes this incarceration is causing an undue

 burden to his family.


        Thus, counsel respectfully requests this Court to grant a variance in sentence and, at the

 ultimate range set, to sentence at the low end of the guidelines. The sentence sh




        ould be sufficient but not greater than necessary to comply with the §3553 factors. The

 guidelines sentence recommendation appears to go far beyond meeting the mandate of being

 sufficient but not greater than necessary to comply with the §3553 factors.


        ​       ​        ​     ​       ​      ​       Respectfully Submitted,
 ​      ​       ​
 ​      ​       ​        ​     ​       ​      ​       /s/ Jose Rodriguez
 ​      ​       ​        ​     ​       ​      ​       Jose Rodriguez, Esq.
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                                        CERTIFICATE OF SERVICE


 ​      I HEREBY CERTIFY that on March 7, 2025 I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

 all parties in this matter, including to the Office of the United States Attorney.


        ​       ​       ​       ​       ​       ​
        ​       ​       ​       ​       ​       ​       ​        s/Jose Rodriguez
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